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PATIENT ID # CIN - 1162
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TOP 20 UNSECURED CREDITOR OF RIVERSTONE MEMORY       TOP 20 UNSECURED CREDITOR OF RIVERSTONE MEMORY
CARE, LLC                                            CARE, LLC

POWERSECURE SVC INC                                   WASCO PRODUCTS INC
377 MAITLAND AVE                                      PO BOX 559
STE 1010                                              85 SPENCER DR UNIT A
ALTAMONTE SPRINGS FL 32701                            WELLS ME 04090




REACHLOCAL INC
KELLY BARKER                                         TOP 20 UNSECURED CREDITOR OF
6111 PLANO PKWY STE 1000
PLANO TX 75093
                                                      ORIGIN BANK
                                                      3838 OAK LAWN AVE STE P100
                                                      DALLAS TX 75219


RYAN LLC
PO BOX 848351
DALLAS TX 75284-8351

                                                      BELL NUNNALLY
                                                      3232 MCKINNEY AVE STE 1400
                                                      DALLAS TX 75204-2429


STERLING TALENT SOLUTIONS
NEWARK POST OFFICE
PO BOX 36482
NEWARK NJ 07193-6482
                                                      CLIFTONLARSONALLEN LLP
                                                      PO BOX 679334
                                                      DALLAS TX 75267-9334


WESTFIELD BANK FSB
PO BOX 668
WESTFIELD CENTER OH 44251-0668

                                                      HUNTON ANDREWS KURTH LLP
                                                      PO BOX 301276
                                                      DALLAS TX 75303-1276


SIMPSON AC AND HEATING LLC
2626 SOUTH LOOP WEST STE 150
HOUSTON TX 77054

                                                      JUAN ESCAMILLA
                                                      DBA ESCAMILLA CO
                                                      15420 WEST HARDY RD
                                                      HOUSTON TX 77060

RIVERSTONE COMMERCIAL POA
18353 UNIVERSITY BLVD
SUGAR LAND TX 77479
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TOP 20 UNSECURED CREDITOR OF                        TOP 20 UNSECURED CREDITOR OF


OGLETREE DEAKINS NASH SMAOK AND STEWART              DIXON HUGHES GOODMAN LLP
PO BOX 89                                            4350 CONGRESS ST STE 900
COLUMBIA SC 29202                                    PO BOX 602828
                                                     CHARLOTTE NC 28260-2828




WESTFIELD BANK FSB                                   GSI ENGINEERING LLC 4503
PO BOX 668                                           EAST 47TH ST SOUTH
WESTFIELD CENTER OH 44251-0668                       WICHITA KS 67210-1651




CURTIS GROUP ARCHITECTS LTD                          MONSTER WORLDWIDE INC
5000 QUORUM DR STE 500                               PO BOX 90364
DALLAS TX 75254                                      CHICAGO IL 60696-0364




CANNON AND CANNON INC                                OBRIEN ARCHITECTS INC
8550 KINGSTON PIKE                                   5310 HARVEST HILL STE 136 LB 161
KNOXVILLE TN 37919                                   DALLAS TX 75230




CAPITAL CENTER LAND CONDO ASSN INC                   POPP HUTCHESON PLLC
4077 TAMINAMI TRL NORTH STE D-201                    1301 SOUTH MOPAC STE 430
NAPLES FL 32502                                      AUSTIN TX 78746




CIGNA HEALTH AND LIFE INS CO                         SAS ARCHITECTS AND PLANNERS
PO BOX 644546                                        630 DUNDEE RD STE 110
PITTSBURGH PA 15264-4546                             NORTHBROOK IL 60062




CNA INSURANCE                                        THE VILLAGE AT SILVER SAGE
PARAGON ASSET RECOVERY SVC INC                       6363 WOODWAY DR STE 410
PO BOX 6065-02                                       HOUSTON TX 77057
HERMITAGE PA 16148-1065
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TOP 20 UNSECURED CREDITOR OF                         TOP 20 UNSECURED CREDITOR OF WEST HOUSTON
                                                     MEMORY CARE, LLC

VMG HEALTH                                            ILLUSTRATUS
PO BOX 674046                                         8455 LENEXA DR
DALLAS TX 75267-4046                                  LENEXA KS 66214




                                                      MCKESSON CORP
TOP 20 UNSECURED CREDITOR OF WEST HOUSTON             MCKESSON MEDICAL-SURGICAL
MEMORY CARE, LLC                                      PO BOX 204786
                                                      DALLAS TX 75320-4786
A PLACE FOR MOM INC
PO BOX 913241
DENVER CO 80291-3241


                                                      OMNICARE INC
                                                      DEPT 781668
                                                      POBOX 78000
                                                      DETROIT MI 48278-1668
BRIGHTVIEW LANDSCAPE SVC
PO BOX 31001-2463
PASADENA CA 91110-2463


                                                      PARKWAY/ELDRIDGE RD PROP OWNERS ASSC INC
                                                      55 WAUGH DR STE 1111
                                                      HOUSTON TX 77007

BRUSNIAK PLLC
PO BOX 802882
DALLAS TX 75380-2882


                                                      POWERSECURE SVC INC
                                                      377 MAITLAND AVE
                                                      STE 1010
                                                      ALTAMONTE SPRINGS FL 32701
CFP FIRE PROTECTION
153 TECHNOLOGY DR STE 200
IRVINE CA 92618


                                                      REACHLOCAL INC
                                                      KELLY BARKER
                                                      6111 PLANO PKWY STE 1000
                                                      PLANO TX 75093
COINMACH CORP
PO BOX 27288
NEW YORK NY 10087-7288


                                                      RENTOKIL STERITECH
                                                      PO BOX 13848
                                                      READING PA 19612
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TOP 20 UNSECURED CREDITOR OF WEST HOUSTON            TOP 20 UNSECURED CREDITOR OF WEST HOUSTON
MEMORY CARE, LLC                                     MEMORY CARE, LLC

RYAN LLC                                              PATIENT ID # WHO - 1127
PO BOX 848351
DALLAS TX 75284-8351




STERLING TALENT SOLUTIONS                             PATIENT ID # WHO - 1004
NEWARK POST OFFICE
PO BOX 36482
NEWARK NJ 07193-6482




SYSCO
PO BOX 560700
LEWISVILLE TX 75056-0700




WESTFIELD BANK FSB
PO BOX 668
WESTFIELD CENTER OH 44251-0668




PATIENT ID # WHO - 1091




PATIENT ID # WHO - 1091




PATIENT ID # WHO - 1110
